                Case 2:18-cv-00352-RSM
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                               United States District Court
                                   WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA



  AMAZON.COM, INC., et al.,
                                                                JUDGMENT IN A CIVIL CASE
                 Plaintiffs,
                                                                Case No. C18-352 RSM
         v.

  ZHEN WANG “JOHNNY” ZHANG, et al.,

                 Defendants.




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the
       jury has rendered its verdict.

 X     Decision by Court. This action came to consideration before the Court. The issues have been
       considered and a decision has been rendered.

THE COURT HAS ORDERED THAT that Plaintiffs are granted judgment against Defendants, in the amount
of US $480,000, plus attorneys’ fees in an amount to be established. This judgment shall bear interest at the
statutory rate prescribed by 28 U.S.C. § 1961.


       Dated this 12th day of January, 2021.



                                                    WILLIAM M. MCCOOL, Clerk
                                                    UNITED STATES DISTRICT COURT


                                                    s/PAULA MCNABB
                                                    Deputy Clerk
